          Case: 23-2971      Document: 5      Page: 1     Date Filed: 11/09/2023




        UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT



                                 Nos. 23-2971 & 23-2972



                               In re LTL Management LLC


                                         ORDER


        Based on the parties’ representation that this appeal presents a purely legal issue,
the parties shall submit a stipulated set of relevant facts and procedural history upon
which the Court may rely in deciding the appeal. This stipulation shall be filed when the
opening brief is filed. The parties need not repeat this information in their principal
briefs.



For the Court,

s/ Patricia S. Dodszuweit
Clerk

Dated: November 9, 2023
Lmr/cc: All Counsel of Record
